       Case 2:12-cr-00053-WHA-WC Document 55 Filed 07/27/12 Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
vs.                                               )   CR. NO. 2:12cr53-WHA
                                                  )
WILLIAM WASH GARDNER, JR.,                        )
GARDNER ADRIAN COLE                               )


                                             ORDER

       This case is before the court on the Recommendation of the Magistrate Judge (Doc. #46),

recommending that the Defendants’ Motions to Suppress be denied, together with Defendants’

Objections thereto (Doc. #48, #51).

       The facts of this case are fully set out in the Magistrate Judge’s Report and

Recommendation. In summary, the Motion to Suppress concerns evidence obtained as a result of

a traffic stop, a canine search, and subsequent search of a truck bed and passenger compartment.

       The Magistrate Judge held an evidentiary hearing on the Motion to Suppress, and

thereafter entered his report and recommendation. In accordance with the law of this Circuit, the

court has conducted a de novo review of the Magistrate Judge’s Recommendation, including

reading the transcript of the evidentiary hearing; considering all exhibits before the court; and

fully considering the objections of the Defendant. See Jeffrey S. by Ernest S. v. State Bd. of

Educ. of State of Georgia, 896 F.2d 507, 513 (11th Cir. 1990).

       A district court judge has broad discretion to accept, reject, or modify a magistrate

judge’s proposed findings. United States v. Raddatz, 447 U.S. 667, 680 (1980). “Credibility

findings of a magistrate judge, ‘who personally observed and listened to the testimony of live
       Case 2:12-cr-00053-WHA-WC Document 55 Filed 07/27/12 Page 2 of 4




witnesses, may be accepted unless the district judge, in his de novo review, finds reason to

question the magistrate's assessment of the evidence.’” U.S. v. Jennings, 491 F. Supp. 2d 1072,

1075 (M.D. Ala. 2007) (quoting Blizzard v. Quillen, 579 F.Supp. 1446, 1449 (D. Del.1984)).

De novo review does not require a new hearing of witness testimony, but it does require

independent consideration of factual issues based on the record. Jeffrey S., 896 F.2d at 513. If

the magistrate judge makes findings based on the testimony of witnesses, the district court is

obliged to review the transcript or listen to a tape-recording of the proceedings. Id.

       After reviewing the record and reading the transcript of the evidentiary hearing, the court

makes an independent factual determination and finds no reason to question the Magistrate

Judge’s credibility assessments.

       The Defendants have set forth some objections to the findings of fact in the Report and

Recommendation. The Defendants’ objections are twofold. First, they raise an objection as to

the feasibility of Officer Dunn, Sergeant Byrd, and Officer Ogletree smelling a faint odor of

marijuana coming from the Defendants’ truck. Second, they raise an objection as to whether

their truck’s licence plate was actually obstructed in any way and whether Sergeant Byrd and

Officer Ogletree actually observed the truck speeding. These objections can be easily reclassified

as objections to the Magistrate Judge’s credibility finding as to Officer Dunn, Sergeant Byrd, and

Officer Ogletree. After considering the transcript from the hearing, the court finds no reason not

to credit the testimony of three different law enforcement officers as to the smell of the marijuana

coming from the car. Moreover, the court has no reason to believe that Sergeant Byrd and

Officer Ogletree provided false testimony at the hearing concerning the traffic code violations at

issue. The court has read the transcript, and despite the efforts of the defense attorneys to create


                                                  2
       Case 2:12-cr-00053-WHA-WC Document 55 Filed 07/27/12 Page 3 of 4




controversy as to the three officers’ testimony during the hearing, it is clear, especially in light of

the testimony concerning the canine’s search of the truck, that each of the officers’ testimony was

credible as to the issues raised by the Defendants. As such, the court need not hold another

hearing in order to rule on the Defendants’ objections. See United States v. Veteto, 701 F.2d

136, 140 (11th Cir. 1983) (stating "If the district court concurs with the magistrate's

recommendation, it need not hold another evidentiary hearing, even where the credibility of

certain witnesses might be an important factor in making the determination."), cert. denied,

Wescott v. U.S., 463 U.S. 1212 (1983); United States v. Cofield, 272 F.3d 1303 (11th Cir. 2001)

(“a district court is not required to rehear witness testimony when accepting a magistrate judge's

credibility findings.”).

        Defendant’s legal objections concern the subjective intent of Sergeant Byrd and Officer

Ogletree before making the traffic stop, the duration of the traffic stop at issue, and also the effect

of receiving a report from the government after the hearing conducted by the Magistrate Judge.

The Defendants argue that the only explanation for why Sergeant Byrd and Officer Ogletree

conducted the traffic stop at issue is that the Defendants’ vehicle matched the description of a

vehicle, which allegedly contained drugs, that the officers had received from a confidential

informant. However, it is clear that “an officer's motive in making the traffic stop does not

invalidate what is otherwise ‘objectively justifiable behavior under the Fourth Amendment.’”

U.S. v. Simmons, 172 F.3d 775, 778 (11th Cir. 1999) (quoting Whren v. United States, 517 U.S.

806, 812 (1996)). Moreover, it is clear from the record that the evidence supports the Magistrate

Judge’s finding that the officers had probable case to stop the Defendants’ truck. See United

States v. Monzon-Gomez, 244 F. App’x 954, 959 (11th Cir. 2007) (explaining that “speeding is a


                                                   3
       Case 2:12-cr-00053-WHA-WC Document 55 Filed 07/27/12 Page 4 of 4




traffic violation that may properly justify a traffic stop” and that “the Fourth Amendment does

not require the use of radar detection to establish probable cause to believe a motorist is

speeding”).

        The court also agrees that the facts as found by the Magistrate Judge support the

conclusion that the duration of the stop was not unreasonable under the Fourth Amendment. See

United States v. Hardy, 855 F.2d 753, 761 (11th Cir. 1988) (finding that a stop which lasted

approximately fifty minutes was not unreasonable in light of the facts of that case which included

a canine sniff search of the suspect’s automobile).

        Lastly, after considering the report which the Defendants allege was kept from them

before the hearing on this matter, the court finds that the report is not relevant to the inquiry of

whether the officers’ actions violated any of the Defendants’ constitutional rights during the

traffic stop.

        Accordingly, the court agrees with the Report and Recommendation of the Magistrate

Judge that the Motions to Suppress is due to be DENIED.

        It is hereby ORDERED as follows:

        1. The Objections are OVERRULED.

        2. The court ADOPTS the Recommendation of the Magistrate Judge.

        3. Defendants’ Motion to Suppress is DENIED.

        DONE this 27th day of July, 2012.


                                               /s/ W. Harold Albritton
                                               W. HAROLD ALBRITTON
                                               SENIOR UNITED STATES DISTRICT JUDGE



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